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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                     Case No. 1:17-cv-60426-UU

  ALEKSEJ GUBAREV, et al.,

         Plaintiffs,

  v.

  BUZZFEED, INC., et al.,

        Defendants.
  ____________________________________/

                                                ORDER

         THIS CAUSE comes before the Court upon Plaintiffs’ Emergency Motion for Partial

  Reconsideration (D.E. 435) (the “Motion”).

         THE COURT, having reviewed the Motion and pertinent parts of the record, and being

  otherwise fully advised in the premises, hereby ORDERS AND ADJUDGES that the Motion is

  DENIED DUE TO for lack of jurisdiction following the filing of a notice of appeal directed to the

  unsealing order. D.E. 433 (appealing D.E. 431); see United States v. Diveroli, 729 F.3d 1339,

  1341 (11th Cir. 2013) (the filing of a notice of appeal divests district court of jurisdiction to take

  any action with regard to the matter except in aid of the appeal). But if the Court had jurisdiction

  to consider the Motion, it would deny the same for the reasons set forth in the unsealing order.

         DONE AND ORDERED in Chambers, Miami, Florida, this 6th day of March, 2019.


                                                         ________________________________
                                                         URSULA UNGARO
                                                         UNITED STATES DISTRICT JUDGE
  cc: counsel of record via cm/ecf




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